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            EXHIBIT 1
Case 9:08-cv-80736-KAM Document 470-1 Entered on FLSD Docket 07/29/2019 Page 2 of 3




       From:            Iris Zambrano
       To:              Dexter.Lee@usdoi.oov;
                                                                                  ; bbrodskv@coffevburl inoton.com;
                        thomas.scott(Ocskleoal.com
       Cc:              Paul Cassell; Brad Edwards; Maria Kellichian
       Subject:                                                -
                        Doe v. United States ofAmerica Order Case 9:08-cv-80736
       Dater            Monday, December 28, 2015 5:52:25 PM
       Attachments:     imaoeool.pno
                        DE 347 MTSeaFMTCompell 122815.odf
                        DE 347-1 MTSeal-MTCompell Prooosed Order 122815.odf
                        ORDER MTComoeII.Dec28 FINAL UNDER SEAL.odf
                        MTcompell-Dec28 Attc 3 RNAL UNDER SEAL.pdf
                        MTcompell-Dec28 Aftc 2 FINAL UNDER SEAL.odf
                                                I
                        MTcompell-Dec28 Attc FINAL UNDER SEAL.odf
                        MTcomtrell-Dec28 RNAL UNDER SEAL.pdf


       Good afternoon counsel:


       Please find attached the following:


       Jane Doe No. 1 and Jane Doe No. 2's Motion to Temporarily Seal Their Motion Compel Answers to
       Supplemental Requests for Admissions and Requests for Production, and Proposed Order (DE 347)


       Jane Doe No. 1 And Jane Doe No. 2's Motion to Compel Answers to Supplemental Requests for
       Admission and Requests For Production_Filed under Seal (DE 348)
       Jane Doe No. 1 And Jane Doe No. 2's Motion to Compel Answers to Supplemental Requests for
       Admission and Requests For Production_Attachment_1_ Filed under Seal (DE 348)
       Jane Doe No. 1 And Jane Doe No. 2's Motion to Compel Answers to Supplemental Requests for
       Admission and Requests For Production_Attachment_2_Filed under Seal (DE 348)
       Jane Doe No. L And Jane Doe No. 2's Motion to Compel Answers to Supplemental Requests for
       Admission and Requests For Production_Proposed Order_Filed under Seal (DE 348)


       Document   Number:       348
       Docket Text:
       SEALED MOTION   to Compel Answers to Supplemental Requests for Admission and. Requests for
       Production byJane Doe No. l- andJane Doe No.2 byJane Doe. (Attachments: # (1)Attachment L, #
       (2) Attachment2, # (3) Attachment 3, # (4) Text of Proposed Order) (Edwards, Bradley)
       9:08-cv-80736-KAM No electronic public notice will be sent because the case/entry is sealed.


       Please contact us should you have any questions. Thank you.


      Truly yours,
       lris Zambrano.



                  Farmer, Jaffa ${eissing
                  fdwards, Fistos & Lehrman, P.L.
       lris Zambrano
       Paralegal
       425 North Andrews Avenue. $uite 2
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